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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                          ELECTflO' HCALLY FILED
                                                       DOC#:
-----------------------------------------x                     -~~-77'1-~~
SUK JOON RYU, a/k/a JAMES S. RYU,                      DATE Fn FD:

                                                   18 Civ. 1236 .(JSR)
     Plaintiff,
                                                   ORDER
          -v-

HOPE BANCORP, INC., as successor
by merger to Wilshire Bancorp, Inc.,


     Defendant.
-----------------------------------------x
JED S. RAKOFF, U.S.D.J.


     On August 29, 2018, the Honorable Katharine H. Parker,

United States Magistrate Judge,     issued a Report and

Recommendation in the above-captioned matter recommending the

granting of plaintiff Suk Joon Ryu's motion for advancement of

certain legal fees and expenses, subject to several limitations.

Magistrate Judge Parker also recommended a procedure for the

advancement of fees going forward. On September 12, 2018, Ryu

and defendant Hope Bancorp, Inc. both filed objections to

certain portions of the Report and Recommendation. The Court has

reviewed the objections and the underlying record de novo.

     Having done so, the Court finds itself in complete

agreement with Magistrate Judge Parker's truly excellent Report

and Recommendation and hereby adopts its reasoning by reference.

Accordingly, the Court hereby grants Ryu's motion, subject to
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the limitations contained in Magistrate Judge Parker's Report

and Recommendation. The Court also hereby orders the

implementation of Magistrate Judge Parker's recommended

procedure for the advancement of fees going forward. The Clerk

is instructed to close docket number 53.

     SO ORDERED

Dated:     New York, NY
           September:tl_, 2018
                                              ~
                                              JED S. RAKOFF, U.S.D.J.
